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                                              June 30, 2023



    Via CM/ECF

    The Honorable Richard M. Gergel
    U.S. District Court for the District of South Carolina
    J. Waties Waring Judicial Center
    83 Meeting Street
    Charleston, South Carolina 29401

    Re:      In re Aqueous Film-Forming Foams Products Liability Litigation (MDL No. 2873);
             Tyco Fire Products LP v. AIU Insurance Company et al. (No. 2:23-cv-02384)

    Dear Judge Gergel:

            Pursuant to the Court’s order of June 21, 2023 (MDL Dkt. No. 3311), Tyco Fire Products
    LP provides with this filing all pleadings (complaints, cross claims, and answers), all motions with
    related memoranda (to include supporting exhibits and affidavits), and all orders in Century
    Indemnity Co. v. Tyco Fire Products LP et al. (Wisc. Cir. Ct. C.A. No. 2022CV000283). Excluded
    from this filing are the numerous non-substantive filings in that case, such as applications for
    admission pro hac vice, proposed orders, and affidavits of service. To ensure compliance with the
    Wisconsin court’s orders, we have provided redacted copies of filings and have not provided
    materials filed under seal. Finally, also included in this filing is the complete docket in Century
    Indemnity as of this date. For ease of reference, highlighted entries indicate the documents
    described above that are not included in this filing.
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       Should the Court wish to see a filing that Tyco omitted, please do not hesitate to contact
me. In addition, Tyco would be pleased to explain the status of Century Indemnity if the Court
would find that helpful.



                                             Respectfully submitted,

                                              /s/ Liam J. Montgomery

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Enclosures (by CM/ECF; identical paper and electronic copies separately provided to chambers)

Copy to: All Counsel of Record (via CM/ECF)
